Case 1:04-cv-01267-.]DT-tmp Document 19 Filed 04/22/05 Page 1 of 2 Page|D 23

rN THE UNrrED STATES DrSrRICr CoURT FH-! §
WESTERN DISTRICT TENNESSEE `
EASTERN DIVISION 05 R 22 Pt€ ul 54 "
ROGER D. R_H_,EY, ROBE:H'§' ;‘-‘.i._ §§ :'l to

Plaintit"f,
vs.

WAL-MART Store #335, WAL-MART
ASSOCIATES, INC., WAL~MART
STORES_, mC., WAL-MART STORES
EAST, INC., A & M CLEANING
PRODUCTS, INC., BIO-LAB, INC.,
Individually and as Owner of A &M
CLEANING PRODUCTS, INC.,
BIO-LAB, INC., as a wholly-owned
Subsidiary of GREAT LAKES
CHEMICAL CORPORATION, and
GREAT LAKES CHEMICAL
CORPORATION, Individually,

Der`endants.

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CLEF€?<., U.S. §`Jl . JT.
W.D. OF" TN, ME:MPH|S

No. 1-04-1267-T-P

T M-P
-[-RRQBQS»E-B; 0RDER GRANTING THE wAL-MART DEFENDANTS’ AMENDED
MoTIoN FoR LEAVE To FILE AMENDEI) ANSWER

This matter came before the Court upon Defendants Amended Motion for Leave to File

Arnended Answer by counsel for the A & M CLEANING PRODUCTS, INC., BIO-LAB, INC.,

lndividually and as Owner of A&M CLEANING PRODUCTS, INC., BlO-LAB, INC., as a wholly-

owned Subsidiary of GREAT LAK_ES CHEMICAL CORPORATION, and GREAT LAKES CHEMICAL

CORPORATION, lndividually. It appears to the Court that the Motion is well taken and hereby is

gTanted.

IT IS THEREFORE ORDERED that the above Defendants be and hereby allowed to file their

Amended Answer in this cause.

ENTERED this 422/day aprril, 2005.

Judge

C:a§€,p@

       

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UNITED

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 1:04-CV-01267 was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

